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                       IN THE COURT OF UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

IBRAHIM SHARQAWI                                )    CASE NO. 1:20-cv-00271-PAB
                                                )
                Plaintiff,                      )    JUDGE PAMELA A. BARKER
                                                )
       v.                                       )    PLAINTIFF’S NOTICE OF FILING
                                                )    EEOC RIGHT TO SUE LETTER
THE KIRBY COMPANY, et. al.                      )
                                                )
                Defendants.                     )



       Plaintiff, hereby gives notice to all interested parties that he is filing herewith the Notice of Right

to Sue he received from the EEOC on August 31, 2021, in connection with his discrimination of national

origin and retaliation claims against The Kirby Company, et al. The Right to Sue Notice is attached

hereto as Exhibit 1.


                                      Respectfully submitted,

                                      /s/Caryn M. Groedel
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                                      Cleveland, OH 44139
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                                      Facsimile: 440-996-0064
                                      One of the Attorneys for Plaintiff


                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed electronically this 2nd day
of September, 2021. Notice of this filing will be sent to all parties by the Court’s electronic filing
system. Parties may access this filing through the Court’s system.

                                                      /s/ Caryn M. Groedel
                                                      Caryn M. Groedel




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